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                           UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                  LUFKIN DIVISION


                                                    )
                                                    )
  JOHN WHITE,                                       )
                                                    )
         Plaintiff,                                 )   Case No. 9:24-CV-00085-MJT
                                                    )
  v.                                                )
                                                    )
  LLOYD GILLESPIE                                   )
                                                    )
         Defendant.




                   PROPOSED ORDER REGARDING PLAINTIFF’S
                 MOTION TO DISMISS DEFENDANT’S COUNTERCLAIM


        Considering the foregoing Motion to Dismiss Defendant’s Counterclaim filed by Plaintiff,

        IT IS HEREBY ORDERED that the Motion is GRANTED.


 Dated: July ___, 2024

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                                                        United States District Judge
